Case 1:23-cr-10299-FDS Document108 Filed 09/11/24

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES of AMERICA

DEAN A. TRAN,

Defendant.

Vv.

Smee ee ee ee ee”

VERDICT FORM

COUNTS 1-25: Wire Fraud

We, the jury:

i

I.

As to Count 1 (3/21/2021), find defendant Dean Tran:
Not Guilty Guilty

As to Count 2 (3/28/2021), find defendant Dean Tran:

_____ Not Guilty Guilty

As to Count 3 (4/4/2021), find defendant Dean Tran:
Not Guilty Guilty

As to Count 4 (4/11/2021), find defendant Dean Tran:

Not Guilty Guilty

As to Count 5 (4/18/2021), find defendant Dean Tran:

Not Guilty Guilty

As to Count 6 (4/25/2021), find defendant Dean Tran:

Not Guilty | ‘Guilty

Criminal No.
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As to Count 7 (5/2/2021), find defendant Dean Tran:

Not Guilty ‘ Guilty

As to Count 8 (5/9/2021), find defendant Dean Tran:

Not Guilty : Guilty

As to Count 9 (5/16/2021), find defendant Dean Tran:

Not Guilty } ( Guilty

As to Count 10 (5/23/2021), find defendant Dean Tran:

Not Guilty MK Guilty

As to Count 11 (5/30/2021), find defendant Dean Tran:

Not Guilty K Guilty
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As to Count 12 (6/6/2021), find defendant Dean Tran:

Not Guilty i Guilty

As to Count 13 (6/13/2021), find defendant Dean Tran:

Not Guilty A Guilty

As to Count 14 (6/20/2021), find defendant Dean Tran:

Not Guilty A. Guilty

As to Count 15 (6/27/2021), find defendant Dean Tran:

Not Guilty IN Guilty

As to Count 16 (7/4/2021), find defendant Dean Tran:

Not Guilty Guilty

As to Count 17 (7/11/2021), find defendant Dean Tran:

Not Guilty \ Guilty

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Lg,

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25.

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As to Count 18 (7/18/2021), find defendant Dean Tran:

Not Guilty K Guilty

As to Count 19 (7/25/2021), find defendant Dean Tran:

Not Guilty / C Guilty

{
As to Count 20 (8/1/2021), find defendant Dean Tran:

Not Guilty x, Guilty

As to Count 21 (8/8/2021), find defendant Dean Tran:

Not Guilty Guilty

As to Count 22 (8/15/2021), find defendant Dean Tran:

Not Guilty ~ Guilty

As to Count 23 (8/22/2021), find defendant Dean Tran:

Not Guilty ~ Guilty
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As to Count 24 (8/29/2021), find defendant Dean Tran:

Not Guilty . Guilty

As to Count 25 (9/5/2021), find defendant Dean Tran:

Not Guilty Guilty

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COUNTS 26-28: Filing a False Tax Return

We, the jury:

26. As to Count 26 (calendar year 2020), find defendant Dean Tran:

Not Guilty x Guilty

Ze As to Count 27 (calendar year 2021), find defendant Dean Tran:

Not Guilty ) ( Guilty

28. As to Count 28 (calendar year 2022), find defendant Dean Tran:
Not Guilty x Guilty

Your deliberations are complete. Please notify the court security officer in writing that you
have reached a verdict.

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FOREPERSON: Muu DATE: q| \\ | 2024)

